           Case 1:19-cv-01063-LY Document 31 Filed 12/30/19 Page 1 of 2



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                              28190EC30 AHII:fte

EMILY GILBY, TEXAS DEMOCRATIC                     §
PARTY, DSCC, DCCC,                                §
                PLAINTIFFS,                       §
                                                  §             CAUSE NO. 1 :19-CV-1063-LY
V.                                                §
                                                  §
RUTH HUGHES, IN HER OFFICIAL                      §
CAPACITY AS THE TEXAS                             §
SECRETARY OF STATE,                               §
                DEFENDANT.                        §



TERRELL BLODGETT, TEXAS YOUNG                     §
DEMOCRATS, AND TEXAS COLLEGE                      §
DEMOCRATS,                                        §
               PLAINTIFFS,                        §
                                                  §             CAUSE NO. 1:19-CV-1 154-LY
V.                                                §
                                                  §
RUTH HUGHES, IN HER OFFICIAL                      §
CAPACITY AS THE TEXAS                             §
SECRETARY OF STATE,                               §
                DEFENDANT.                        §


                                                 I)   1   ]Lt

       Before the court Defendant the Texas Secretary of State's Unopposed Motion to Consolidate

filed December 18, 2019 (Doc. #22). Federal Rule of Civil Procedure 42(a) permits a district court

to consolidate "actions before the court involv[ing] a common question of law or fact." District

courts have broad discretion in determining whether to consolidate cases. See Mills v. Beech Aircraft

Corp., 886 F.2d 758,761-62(5th Cir. 1989). Consolidation is proper when it will avoid unnecessary

costs or delay without prejudicing the rights of the parties. See id. at 761-62 (5th Cir. 1989); St.

Bernard Gen. Hosp., Inc.   v.   Hospital Serv. Ass 'n ofNew Orleans, Inc., 712 F.2d 978, 989 (5th Cir.

1983). Having considered the motion, the court is of the opinion that it should be granted.
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       IT IS THEREFORE ORDERED that Defendant the Texas Secretary of State's Unopposed

Motion to Consolidate filed December 18, 2019 (Doc. #22) is GRANTED.

       IT IS FURTHER ORDERED that Cause No. 1:1 9-CV- 11 54-LY be consolidated with and

into Cause No. 1:19-CV-1063-LY.

       IT IS   FINALLY ORDERED that the consolidated cause shall hereafter be styled Emily

Gilby, Texas Democratic Party, DSCC, DCCC, Terrell Blodgett, Texas Young Democrats, and

Texas College Democrats v. Ruth Hughes, In Her Official Capacity as the Texas Secretary ofState,

Cause No. 1 :19-CV-1063-LY.

       SIGNED this'               day of December, 2019.




                                            UN! ED STATES




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